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                       IN THE UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF NEW MEXICO

UNITED STATES OF AMERICA,

              Plaintiff,

vs.                                                                            No. CR 12-3182 JB

RICHARD SANCHEZ,

              Defendant.

                           MEMORANDUM OPINION AND ORDER

       THIS MATTER comes before the Court on Defendant Richard Sanchez’s Motion to

Modify Conditions of Release, filed September 11, 2013 (Doc. 339)(“Motion”). The Court held

a hearing on October 8, 2013. The primary issue is whether the Court should modify the

conditions of release imposed on Sanchez to remove the condition requiring electronic

monitoring. The Court will grant the Motion in part and deny it in part. The Court will allow the

monitoring bracelet to be removed for Sanchez’ baptism. The Court will otherwise deny the

Motion, because electronic monitoring remains necessary to mitigate the risk of flight and the

danger to the community that Sanchez poses.

                                 FACTUAL BACKGROUND

       The Motion lays out the factual background as follows:

              1.      On December 14, 2012, Mr. Sanchez was arrested for conspiracy
       to possess with the intent to distribute 5 kilograms or more of cocaine, in violation
       of 21 U.S.C. § 846.

              2.      On December 17, 2012, Mr. Sanchez appeared before Federal
       Magistrate Judge Robert Hayes Scott for an initial appearance. Mr. Sanchez was
       ordered detained.

              3.     On December 19, 2012, Mr. Sanchez appeared before Federal
       Magistrate Judge Robert Hayes Scott for an arraignment and detention hearing.
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       Mr. Sanchez was ordered detained pending trial.

               4.      On January 30, 2013, Mr. Sanchez, through counsel, filed a motion
       requesting release from custody.
               5.      On March 4, 2013, this Honorable Court held a hearing on
       Mr. Sanchez’s motion requesting release from custody and ordered him released
       to the third party custody of the La Pasada Halfway House.

             6.      On April 4, 2013, Mr. Sanchez, through counsel, filed an
       unopposed motion to modify conditions of release to allow Mr. Sanchez to return
       home under the third party custody of his wife, Charlene Martinez.

               7.      On April 5, 2013, this Court authorized Mr. Sanchez’s release to
       the third party custody of Ms. Martinez. One of the conditions of Mr. Sanchez’s
       release, however, is that Mr. Sanchez must wear an electronic monitoring device.

Motion ¶¶ 1-7, at 1-2.

                              PROCEDURAL BACKGROUND

       Sanchez moves the Court for his release, explaining:

              8.      Mr. Sanchez has been completely compliant with all the Court
       imposed conditions of release. Indeed, United States Pre-trial Services Officer
       Jason Beatty advised undersigned that Mr. Sanchez has done everything the Court
       has asked of him and has not had any problems with his supervision.

               9.      Since his release to the third party custody of Ms. Martinez,
       Mr. Sanchez has been able to secure employment with his former employer,
       General Distributors Inc. Mr. Sanchez has been employed with that company for
       over fourteen (14) years. His position is freezer area leader. He is responsible for
       “receiving, separating, pulling orders, inventory control and training new hires.”
       Mr. Sanchez’s schedule varies depending on the company’s daily workload but is
       typically from 4:00 a.m. to 11:30 a.m. As part of his employment, Mr. Sanchez
       must wear heavy work boots. The electronic monitoring device frequently
       interferes with Mr. Sanchez’s work boots as the device causes irritation to Mr.
       Sanchez’s skin and severe discomfort as he is trying to fulfill his employment
       responsibilities.

              10.     Since his release, Mr. Sanchez has also been attending religious
       services twice per week. Because of the monitoring device, he has had to leave
       the Wednesday religious services early. Mr. Sanchez also cannot be baptized as
       the device cannot be submerged in water.

             11.    The electronic monitoring device has been causing difficulty with
       Mr. Sanchez’s familial responsibilities. Mr. Sanchez and his family have only

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       one vehicle. Mr. Sanchez has to ride his bicycle to his wife’s place of
       employment in order to pick up the family vehicle and thereafter proceed to pick
       up the couple’s two daughters from school. If Ms. Martinez’s work schedule
       changes, Mr. Sanchez is not be able to pick up his daughters on time because he
       has to first call his pre-trial services officer to advi[s]e of the change in
       circumstances and schedule. If Mr. Sanchez proceeds to pick up his daughters
       from school without first notifying his supervising pre-trial services officer,
       Mr. Sanchez risks a possible violation of conditions of release.

               12.    United States Probation/Pre-trial Officer Jason Beatty advised
       undersigned that on the issue of removal of the electronic monitoring device, he
       defers to the Court. Mr. Beatty added that Mr. Sanchez has done everything that
       has been required of him and Mr. Beatty has not had any non-compliance issues
       with Mr. Sanchez.

              13.     Since Mr. Sanchez has been compliant with all his conditions of
       release and his supervising pre-trial services officer did not voice opposition,
       Mr. Sanchez respectfully requests this Court authorize the removal of the
       condition requiring electronic monitoring.

              14.     Undersigned counsel was in contact with Assistant U.S. Attorney,
       Joel Meyers, who advised that the government opposes the removal of the
       condition of pre-trial release requiring electronic monitoring.

              15.     Mr. Sanchez submits that the Eighth Amendment to the United
       States Constitution requires that a defendant be released on the least restrictive
       conditions. See United States v. Crowell, 2006 WL 3541736, at *7 (W.D.N.Y.
       2006). If a defendant is not remanded, he must be released on personal
       recognizance or on an unsecured bond unless the court determines that these
       conditions are insufficient. 18 U.S.C. § 3142(b). In that event, the court is
       obligated to fashion a bail package consisting of “the least restrictive further
       condition or conditions” that will reasonably assure the defendant’s appearance
       and the safety of the community. 18 U.S.C. § 3142(c)(1)(B).

               16.    Mr. Sanchez has been on the electronic monitoring device for over
       five months. Since he has been compliant, he has demonstrated that electronic
       monitoring is no longer necessary to ensure his appearance in court and the safety
       of the community. Mr. Sanchez submits that his proven record of compliance,
       strong family and community ties and his relative lack of criminal history militate
       in favor of removal of electronic monitoring.

Motion at ¶¶ 8-16, at 2-4 (citations and footnote omitted). In a footnote, Sanchez underscores

that Mr. Beatty did not oppose or concur in his request, leaving the issue to the Court’s

discretion. See Motion ¶ 13, at 3 n.1.

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       Plaintiff United States of America opposes the Motion. See United States’ Response to

Defendant’s   Motion     to   Modify    Conditions    of    Release,   filed    October   7,   2013

(Doc. 362)(“Response”). It states:

               1.      On December 12, 2012, a federal Grand Jury sitting in Las Cruces,
       New Mexico returned an Indictment (Doc. 2) charging[] defendant and 10 others
       with, inter alia, Conspiracy to Distribute Five Kilograms and More of Cocaine in
       violation of 21 U.S.C. § 846.

              2.     On December 19, 2012, . . . Robert Hayes Scott, United States
       Magistrate Judge, issued an Order of Detention Pending Trial (Doc. 108) finding
       “defendant ha[d] not rebutted the presumption established by finding [. . .] that no
       condition will reasonably assure defendant’s appearance and the safety of the
       community.” See Doc. 108. The Court also made the alternative findings that
       defendant was both a serious risk of flight and a serious danger to the community.
       Id.

               3.     On January 30, 2013, defendant filed an appeal of Judge Scott’s
       Order seeking release on his own recognizance or, in the alternative, release to the
       third-party custody of the his fiancée. Doc[.] 183 at 1 and 4.

               4.     On March 4, 2013, this Court issued an Order (Doc. 226) granting,
       in part, and denying, in part, defendant’s motion. In doing so, the Court released
       defendant to the La Pasada Halfway House subject to stringent conditions. See
       generally Doc. 226.

               5.     On April 5, 2013, with no opposition from the government, this
       Court allowed defendant to leave the Halfway House and instead reside with --
       and be subject to the third-party custody of -- his fiancée. See Docs. 254 and 256.
       One of the conditions of his release was that defendant would also be subject to
       location monitoring. See Doc. 256 part a.

              6.     Defendant, like many before him, now seeks to remove one of the
       very preconditions for the lack of government opposition to his release from the
       Halfway House.

              7.       For the following reasons, defendant’s motion should be denied.

              8.      Pursuant to 18 U.S.C. § 3142(f), a detention hearing may be
       reopened “if the judicial officer finds that information exists that was not known
       to the movant at the time of the hearing and that has a material bearing on the
       issue of whether there are conditions of release that will reasonably assure the
       appearance of such person as required and the safety of any other person and the
       community.”

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                9.      Defendant has presented a dearth of factual information that would
       justify -- yet again -- modifying defendant’s conditions of release under 18 U.S.C.
       § 3142(f). Conspicuous only by its absence is any indication of new information
       supporting defendant’s motion.         Other than skin “irritation” which he
       characterizes as “severe discomfort” [Motion ¶ 9, at 2], defendant has utterly
       failed to present any indication whatsoever of any evidence which “was not
       known to the movant at the time of the [previous detention] hearing and that [the
       new information] has a material bearing on the issue whether there are conditions
       of release that will reasonably assure the appearance of such person as required
       and the safety of any other person and the community.” 18 U.S.C. § 3142(f). The
       only thing approaching new information is the conceded fact that, to date,
       defendant has not violated conditions of his release. Contrary to defendant’s
       suggestion, however, this fact does nothing more than validate the current
       conditions of release and support their continued appropriateness.

Response ¶¶ 1-9, at 1-3 (footnote omitted). The United States clarified that it “does not object to

the temporary removal of the location monitoring device so that defendant may undertake the

ritual of Baptism.” Response ¶ 9, at 3 n.1.

       At the hearing, Sanchez substantially recited the arguments in his Motion: that he has

complied with all conditions; that the Eighth Amendment requires that he be released under the

least restrictive conditions; that the monitoring device irritates his skin and makes wearing his

heavy work boots uncomfortable; that it is difficult to coordinate Beatty’s schedule with his

family schedule; and that he would like to be baptized. See Transcript of Hearing at 1:21-5:3

(Johnson), taken October 8, 2013 (“Tr.”).1 The United States stated that Sanchez’ argument is,

in essence, that he deserves “a reward for doing exactly what he’s supposed to do”; in its view,

       the mere fact that he has been compliant is a direct indication to this Court that
       these are the appropriate conditions in order to manage the obvious danger to the
       community that Mr. Sanchez faces [sic] -- not just from the charges[] that are
       pending before him, but also his criminal history, and as well as managing any
       potential flight risk.



       1
         The Court’s citations to the transcript of the hearing refer to the Court reporter’s
original, unedited version. Any final transcript may contain slightly different page and/or line
numbers.
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Tr. at 6:8-23 (Meyers). As for the boots, the United States contended that other criminal

Defendants have to wear high boots, and that Pretrial Services could modify the devices to

accommodate his boots and prevent skin irritation; it noted that, “[s]itting here today,

Mr. Sanchez does not look like he’s suffering from severe discomfort.”            Tr. at 5:24-6:11

(Meyers). The United States contended that, as to the scheduling concerns, requiring Beatty to

call Sanchez is not unduly burdensome: indeed, in its view, there is no evidence that the

condition has prevented Sanchez from doing anything specific. See Tr. at 6:12-21 (Meyer). The

United States noted that it had agreed not to oppose Sanchez’ placement in a halfway house

based on the electronic monitoring requirement. See Tr. at 6:22-7:4 (Meyers). The United

States contended that “[t]here is no constitutional right to be released” and that, in this case,

based on the grand jury’s charges, the Court can presume that “Mr. Sanchez[] is both a flight risk

and a danger to the community.” Tr. at 7:5-11 (Meyers). The United States reiterated that it

does not oppose Sanchez’ request that the monitor be removed for baptism. See Tr. at 7:12-25

(Meyers). The United States stated that,

       other than that . . . , all we’ve heard is compliance, compliance, compliance. And
       it’s interesting to note that Mr. Beatty is probably the person who is in the best
       position to state the compliance, and he has indeed done that. And it’s also
       interesting his lack of position on this issue here, Judge. I would venture so far to
       say that in Mr. Beatty’s view, or if it was Mr. Beatty’s view that somehow that
       compliance with the conditions was deserving of reward, I think that would be his
       position. I don’t intend to speak for him however.

Tr. at 8:1-11 (Meyers).

       The Court asked what purpose the monitoring served -- that is, whether Sanchez is a

flight risk or a danger to the community. See Tr. at 8:14-17 (Court). The United States

responded:


               I think it’s both, Judge. I mean, obviously the RF monitoring is not going

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       to provide the same level of security, both managing the flight risk or a danger to
       the community, as would GPS monitoring, which was originally installed in this
       case until you received a phone line, so as far as flight risk, you know, unless --
       and basically with RF monitoring someone gets a head start having the RF
       monitoring. Or usually in situations like this, someone is going to cut the device
       off anyway. But as far as a danger to the community, I think it’s a tool that’s
       necessary for Pretrial Services to be able to manage its supervisory conditions of
       Mr. Sanchez. For example, his comings and goings, the times he’s allowed to
       leave his house, and the times he needs to return home. And I think this is a
       necessar[y] tool for pretrial to monitor the compliance. Certainly it’s not going to
       keep Mr. Sanchez in Bernalillo County or the District of New Mexico if his true
       intent was to flee, Judge. And I think it’s just one added layer of protection there.
       But as far as what it’s designed to effect, I think it’s much more effective
       managing the danger to the community.

Tr. at 8:18-9:16 (Meyers). Anticipating that the Court might want to know where Sanchez fits

into the scheme underlying this multi-Defendant case, the United States volunteered that

Sanchez is not a very significant player in the scheme. See Tr. at 9:19-10:15 (Myers).

       Sanchez replied that he has rebutted the presumption that he should be detained, because

he has demonstrated that he is not a danger to the community or a flight risk. See Tr. at 10:19-

11:7 (Johnson). Sanchez also contended that the evidence against him is weak, because the

United States has misidentified Sanchez based on certain telephone records; he noted that “there

were no buys from Mr. Sanchez; he was never observed doing a drug transaction, selling drugs;

there was never an observation of money exchanged. Now, the Government believes that there

was some money exchanged. However, the evidence [in the opinion of Sanchez’ counsel] is

weak.” Tr. at 11:8-12:2 (Johnson). Sanchez also stated that conditions of supervised release

should not be punitive, that he has complied, and that, particularly in light of the presumption of

innocence, the Court should remove this condition and release him to his wife’s custody, with all

other conditions in place. See Tr. at 12:3-15 (Johnson). Sanchez noted that “the 2012 DWI that

was pending has been dismissed. So Mr. Sanchez . . . has a very limited criminal history.” Tr. at

12:12-18 (Johnson).

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       The Court noted that, when it was in private practice, it had represented General

Distributors, and asked Sanchez to describe the sort of shoes he wears. See Tr. at 12:19-13:5

(Court, Defendant). Sanchez replied:

                 THE DEFENDANT: I work in the freezer, Your Honor, so they are like
       really heavy insulated workboots. They come up over where the monitor is, so
       when I am walking around with the boots on, you know, it rubs it back and forth
       on the leg, or else it pushes it all the way up to where it can’t go anywhere. So the
       little lines where the skin comes out of the little buckles and all that.

               THE COURT: So you don’t get up in the morning and put on a pair of
       boots to go out to the warehouse, right?

                A.    I wake up in the morning. I put my boots on and go to work in my
       boots.

                Q.    These are insulated boots?

                A.    Yeah, real thick, for minus 40 degree temperature.

Tr. at 13:6-21 (Defendant, Court).

       The Court then turned to the United States Probation Office (“USPO”); the USPO stated

that many Defendants work in similar situations and must use the monitor. See Tr. at 13:25-14:6

(Probation Officer). The USPO recognized that monitors must be worn low on the ankle and

stated that sometimes putting on boots can push the monitor up tighter on a subject’s leg. See Tr.

at 14:7-17 (Probation Officer). The USPO did not recommend changing the fit, “because if you

make it too lo[o]se where it pushes up even higher, less contact with the skin could generate

alerts to indicate he’s tampering with it, even when he’s not.” Tr. at 14:18-22 (Probation

Officer). The Defendant stated:

               THE DEFENDANT: It pushes it up. Even if I push it down while I have
       it on, when I come in and out of the freezer, it pushes it back up to where it stays
       real tight on top.

              THE COURT: And what’s the worst thing that’s happening? It’s causing
       some irritation?

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              A.     Yes. And it did scab a little on the front part where the thin skin,
       where the bone is.

              PROBATION OFFICER: The other thing we can try, Your Honor -- and I
       won’t know maybe until we try it -- typically, we like the sock worn over the
       base. Let’s try the sock underneath, and see if that helps, if the Court continues
       him on location monitoring.

              THE COURT: That’s what I would think is could you wear a sock
       underneath, and then put the device over the sock. I would think that and a little
       talcum powder would keep friction down, moisture down and things like that.

Tr. at 15:1-19 (Defendant, Court, Probation Officer).

       The Court then turned to the scheduling issue, and the Defendant stated:

       We have a certain time scheduled, I’ll call him every week to do my schedule, to
       where she’s getting off a certain time, and then have a cancellation at work --
       she’s a hairstylist -- so she’ll get off one to two hours earlier, or sometimes more.
       And sometimes when I tried to get ahold of Mr. Beatty he’s not in the office or
       near the computer where he can change it. So that’s when have to wait.

               Last week -- I mean, it’s okay now for the summer. Last week I dropped
       off the vehicle because I couldn’t get a hold of him, and me and my daughters
       walked home. But now in the winter it’s going to be harder for that because
       they’re still little. If I try to get hold of him and he’s not in the office or at a
       computer --

               THE COURT: How many times has that happened where you tried the
       call him and haven’t immediately got hold of him?

               A.     Like maybe two or three times.

               THE COURT: And you’ve been in custody for how long?

               A. On the monitor I’ve been five months.

Tr. at 15:25-16:22 (Defendant, Court). Upon the Court’s request, the USPO clarified that it is

fine to shower with this device, but one should not keep it submerged while bathing, and one

should not swim. See Tr. at 17:1-11 (Probation Officer). After some discussion, Sanchez agreed

that he could set his baptism ahead of time and inform Mr. Beatty of the time he would need the



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bracelet removed. See Tr. at 17:12-18:11 (Court, Defendant).

       The Court stated:

       I still think this monitoring is important from my standpoint to reduce to
       acceptable levels the risk of flight. And so you know, I reviewed your entire bail
       report today. So we go back to the very beginning of this. You know, you did
       have some substance abuse addiction. This case is very serious. You may not be
       the biggest player in it, but given your arrest history and this substance abuse and
       the nature of this alleged offense and the serious charges, I think to reduce the risk
       to levels that the Court accepts, I think I want to leave in place the electronic
       monitoring.

               I’d like to try the boots with the sock on the inside, a little talcum powder,
       and I think that may reduce the friction.

               Let’s monitor him. If it becomes a real problem over the winter getting
       hold of Mr. Beatty, then maybe we’ll do something. But two or three times over
       5 months, I just think probation officers are extremely busy. And that doesn’t
       strike me as too much of a restriction.

Tr. at 18:13-19:8 (Court). The Court then turned to the baptism, and, after a discussion with the

USPO, stated that it was comfortable removing the device on a Wednesday evening so that the

baptism could go forward.      See Tr. at 19:9-20:11 (Court, Probation Officer).         As for the

coordination issue, the USPO and the United States agreed that they could build time into the

location monitoring schedule to increase the schedule flexibility.           See Tr. at 20:15-21:7

(Probation Officer, Court, Myers).

       The Court and Sanchez then exchanged the following colloquy regarding whether the

Court would entertain another motion on this topic after a certain timespan:

               MS. JOHNSON: Thank you, Your Honor. I would respectfully request --
       I know it’s been the practice in this district, and my concerns with pretrial
       services that typically after an individual has been on conditions of release that
       include electronic monitoring, if they have demonstrated a proven track record of
       compliance, no violations, Pretrial Services cannot point to any factors that would
       indicate that he would flee or pose a danger to the community, that the Court
       reconsiders the removal of the electronic monitoring device.

               I would ask, would the Court consider -- obviously, this case is going to be

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       pending for quite some time. It’s quite an extensive case. Would the Court
       consider us returning perhaps in three months -- by that point, he will have been
       on this monitoring device for nine months -- removing it at that point?

                Your Honor, I’m just concerned that this is becoming a punitive tool here.
       His arrest record, Your Honor, you have all of them -- resulted in dismissals
       except for one in 2003, which is 10 years old. There is no evidence that he is a
       flight risk. He has no failures to appear. There is no evidence he’s a danger to the
       community. I know that the strength of the evidence is one of the factors the
       Court considers.

                I would submit to the Court, Your Honor, that even by the Government’s
       own admission he is not a significant player. And I intend to have this discussion
       with Mr. Myers where they’ve misidentified, and have indicated that another
       individual is Mr. Sanchez. I would ask that the Court at least consider removing
       it in perhaps 3 months.

               THE COURT: Well, I don’t mean anything here punitive. I’m trying to
       manage risk, as I do with anybody as far as their ability, you know, the risk of
       nonappearance, and their danger to the community. And we’ve gone a long ways
       here from where I think Judge Scott started with this case and where I am now.
       So I think we’ve managed it well, and will continue to try to do so. I’m not very
       enthusiastic about returning, saying, well, he’s doing very well, therefore, as a
       reward, he should get it taken off. Those don’t hit me very well. Because those
       are kind of the conditions of managing the risk.

                You’re welcome to talk to Mr. Myers, and if y’all agree that there is no
       need for the monitoring, then I probably will go along with it too. But if it’s just
       another one of these, then -- I don’t know what the other judges are doing, but I
       typically resist this sort of motion -- just, well, he’s doing well, let’s reduce his
       conditions. That seems to me, we worked hard early to get the appropriate
       conditions. They’re working well. So I guess I don’t like to touch them unless
       everybody is sort of in agreement that something has changed to reduce the risk.
       If that’s any guidance to you.

Tr. at 21:9-23:17 (Johnson, Court).

                       LAW REGARDING PRETRIAL DETENTION

       Pursuant to the Bail Reform Act of 1984, 18 U.S.C. §§ 3141-3150, a defendant may be

detained pending trial only after a hearing, held pursuant to 18 U.S.C. § 3142(f), and upon a

finding “that no condition or combination of conditions will reasonably assure the appearance of

the person as required and the safety of any other person and the community.” 18 U.S.C.

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§ 3142(e). At such a hearing, the United States bears the burden of proving risk of flight by a

preponderance of the evidence, and the burden of proving dangerousness by clear-and-

convincing evidence. See 18 U.S.C. § 3142(f); United States v. Cisneros, 328 F.3d 610, 616

(10th Cir. 2003). “The rules concerning the admissibility of evidence in criminal trials do not

apply to the presentation and consideration of information at the [detention] hearing.” 18 U.S.C.

§ 3142(f).   To determine whether pretrial detention is warranted, the judicial officer must

consider the statutory factors set forth in 18 U.S.C. § 3142(g):

       (g)     Factors to be considered. -- The judicial officer shall, in determining
       whether there are conditions of release that will reasonably assure the appearance
       of the person as required and the safety of any other person and the community,
       take into account the available information concerning --

               (1)    the nature and circumstances of the offense charged, including
               whether the offense is a crime of violence, a violation of section 1591, a
               Federal crime of terrorism, or involves a minor victim or a controlled
               substance, firearm, explosive, or destructive device;

               (2)     the weight of the evidence against the person;

               (3)     the history and characteristics of the person, including --

                       (A)    the person’s character, physical and mental condition,
                       family ties, employment, financial resources, length of residence in
                       the community, community ties, past conduct, history relating to
                       drug or alcohol abuse, criminal history, and record concerning
                       appearance at court proceedings; and

                       (B)      whether, at the time of the current offense or arrest, the
                       person was on probation, on parole, or on other release pending
                       trial, sentencing, appeal, or completion of sentence for an offense
                       under Federal, State, or local law; and

               (4)      the nature and seriousness of the danger to any person or the
               community that would be posed by the person’s release. In considering the
               conditions of release described in subsection (c)(1)(B)(xi) or (c)(1)(B)(xii)
               of this section, the judicial officer may upon his own motion, or shall upon
               the motion of the Government, conduct an inquiry into the source of the
               property to be designated for potential forfeiture or offered as collateral to
               secure a bond, and shall decline to accept the designation, or the use as

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               collateral, of property that, because of its source, will not reasonably
               assure the appearance of the person as required.

18 U.S.C. § 3142(g).

        When a defendant is charged with certain crimes, however, a presumption can arise that

the defendant is a flight risk and a danger to the community. See 18 U.S.C. § 3142(e)(3); United

States v. Villapudua-Quintero, 308 F. App’x 272, 273 (10th Cir. 2009)(unpublished)2(per

curiam)(recognizing that 18 U.S.C. § 3142(e) establishes a rebuttable presumption favoring

detention in the case of, among other defendants, certain alleged drug offenders). 18 U.S.C.

§ 3142(e)(3)(A) provides that a presumption of detention arises when “there is probable cause to

believe that the person committed” certain drug offenses, specifically “an offense for which a

maximum term of incarceration of ten years or more is prescribed in the Controlled Substances

Act, the Controlled Substances Import and Export Act, or chapter 705 of title 46.” 18 U.S.C.

§ 3142(e)(3)(A). The United States Court of Appeals for the Tenth Circuit has explained that

“[t]he grand jury indictment is sufficient to establish the finding of probable cause that defendant



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        United States v. Villapudua-Quintero is an unpublished opinion, but the Court can rely
on an unpublished opinion to the extent its reasoned analysis is persuasive in the case before it.
See 10th Cir. R. 32.1(A) (“Unpublished decisions are not precedential, but may be cited for their
persuasive value.”). The Tenth Circuit has stated:

       In this circuit, unpublished orders are not binding precedent, . . . and we have
       generally determined that citation to unpublished opinions is not favored.
       However, if an unpublished opinion or order and judgment has persuasive value
       with respect to a material issue in a case and would assist the court in its
       disposition, we allow a citation to that decision.

United States v. Austin, 426 F.3d 1266, 1274 (10th Cir. 2005)(citations omitted). The Court
finds that United States v. Villapudua-Quintero, United States v. Silva, 7 F.3d 1046, 1993 WL
394873 (10th Cir. 1993)(unpublished), and United States v. Hudak, 77 F. App’x 489 (10th Cir.
2003)(unpublished), have persuasive value with respect to material issues, and will assist the
Court in its preparation of this Memorandum Opinion and Order.
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committed a federal drug offense with a maximum prison term of ten years or more.” United

States v. Silva, 1993 WL 394873, at *1. Accord United States v. Holguin, 971 F. Supp. 2d 1082,

1088 (D.N.M. 2011)(Browning, J.).

       To determine whether there are conditions of release that will reasonably assure the

appearance of the person as required, and to assure the safety of others and the community, a

court must consider: (i) the nature and circumstances of the crime charged; (ii) the weight of the

evidence against the defendant; (iii) the history and characteristics of the defendant, including

family ties, employment, financial resources, community ties, drug or alcohol abuse history, and

past conduct; and (iv) the nature and seriousness of the danger to the community or to an

individual that would be posed by release. See 18 U.S.C. § 3142(g). When the presumption

applies, should the defendant carry his or her burden of production, the United States must then

show by a preponderance of the evidence that the defendant presents a risk of flight, or by

clear-and-convincing evidence that the defendant presents a danger to the community. See

United States v. Mercedes, 254 F.3d 433, 436 (2d Cir. 2001); United States v. Stricklin, 932 F.2d

1353, 1354-55 (10th Cir. 1991)(“[T]he burden of persuasion regarding risk-of-flight and danger

to the community always remains with the government.”).            Notably, however, even if the

defendant meets her burden of production, “the presumption remains a factor for consideration

by the district court in determining whether to release or detain.” United States v. Stricklin, 932

F.2d at 1355. Accord United States v. Mercedes, 254 F.3d at 436.

       It violates due process to punish a pretrial detainee before a lawful conviction. See

United States v. Salerno, 481 U.S. 739, 747 n.4 (1987)(recognizing that there is a “point at which

detention in a particular case might become excessively prolonged, and therefore punitive in

relation to Congress’ regulatory goal”). The Tenth Circuit has held that detention of a criminal



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defendant pending trial violates due process when the detention is excessively prolonged and is

not regulatory, but punitive. See, e.g., Peoples v. CCA Det. Centers, 422 F.3d 1090, 1106 (10th

Cir. 2005), opinion vacated in part on other grounds on reh’g en banc, 449 F.3d 1097 (10th Cir.

2006); United States v. Hudak, 77 F. App’x 489, 489 (10th Cir. 2003)(unpublished)(“Detention

of a criminal defendant pending trial does not violate a defendant’s due process rights under the

Fifth Amendment, so long as the confinement does not amount to punishment.”); United States

v. Cos, 198 F. App’x 727, 732 (10th Cir. 2006)(unpublished)(stating that “due process may

require a release from pretrial detention or, at a minimum, a fresh proceeding at which more is

required of the government than is mandated by section 3142.” (quoting United States v.

Accetturo, 783 F.2d 382, 388 (3d Cir. 1986))). To determine whether a defendant’s detention

implicates due process, courts look to “1) the length of detention; 2) the extent of the

prosecution’s responsibility for the delay of trial; and 3) the strength of the evidence upon which

the detention was based.” United States v. Cos, 198 F. App’x at 732.

                                           ANALYSIS

       The Court will grant the Motion in part and deny it in part. This case is one where the

nature of the charges results in a presumption that Sanchez should be detained as a flight risk and

as a danger to the community. See 18 U.S.C. § 3142(e)(3). Although Sanchez has produced

evidence of compliance and evidence of long-term employment, and thus has met his burden of

production, the United States has met its burden of persuasion. Given the seriousness of the

charges against Sanchez, his criminal history, his drug abuse history, and the potential of danger

to the community that his release would pose, it is not appropriate to eliminate electronic

monitoring at this stage. See 18 U.S.C. § 3142(g). Further, the Court concludes that the United

States has shown that electronic monitoring is necessary to reduce the risk of flight to acceptable



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levels. The Court also does not believe that having two or three instances of trouble reaching

Mr. Beatty over five months of monitoring poses any severe problems for Sanchez; if the

problem recurs more frequently, Sanchez may approach the Court at that time. The Court will,

however, permit Sanchez to arrange with Pretrial Services to remove the monitoring bracelet for

the period necessary for him to be baptized.

          IT IS ORDERED that Defendant Richard Sanchez’s Motion to Modify Conditions of

Release, filed September 11, 2013 (Doc. 339), is granted in part and denied in part. The Court

will allow the monitoring bracelet to be removed for the baptism. The motion is otherwise

denied.



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                                                            ________________________________
                                                            UNITED STATES DISTRICT JUDGE

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